         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-2151
                  LT Case No. 2020-CA-016377
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AMERICAN SECURITY INSURANCE
COMPANY,

    Appellant,

    v.

STEPHEN KOONS,

    Appellee.
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On appeal from the Circuit Court for Brevard County.
Scott Blaue, Judge.

Desislava K. Docheva, of Baker Donelson Bearman Caldwell &amp;
Berkowitz, PC, Fort Lauderdale, for Appellant.

Matthew Struble, of Struble, P.A., Indialantic, for Appellee.


                         August 27, 2024

PER CURIAM.

    AFFIRMED.


SOUD, MACIVER, and PRATT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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